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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA

                            Alexandria Division

 NYAH TCHAMI WILLIAM, et al.,        )
                                     )
       Plaintiffs,                   )
                                     )
             v.                      )     1:14cv343 (JCC/TRJ)
                                     )
 THE AES CORPORATION AND AES         )
 SONEL,                              )
                                     )
       Defendants.                   )

                  M E M O R A N D U M       O P I N I O N

            At issue in this case is whether a parent corporation

headquartered in Virginia and its Cameroonian subsidiary can be

liable under the Alien Tort Statute and Virginia common law for

injuries stemming from alleged power failures in Cameroon.

Currently before the Court is Defendants AES Corporation (“AES”)

and AES Sonel’s (“Sonel”) (collectively “Defendants”) Motion to

Dismiss Plaintiffs’ Second Amended Complaint (“SAC”).            For the

following reasons, the Court will grant Defendants’ Motion to

Dismiss.

                       I.     Background

            This case arises out of power failures in Cameroon

allegedly caused by a power company, Defendant Sonel.

Plaintiffs, all citizens and residents of Cameroon, seek relief


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pursuant to the Alien Tort Statute (“ATS”), 28 U.S.C. § 1350 and

Virginia common law for injuries allegedly caused by these power

failures.

            A.     Factual Background

            AES is a Delaware corporation, headquartered in

Arlington, Virginia.      (SAC ¶ 2.)    AES is a holding company which

owns a portfolio of electricity generation and distribution

businesses.      AES owns 56% of Sonel, a subsidiary corporation

located in Cameroon.      The Cameroonian government owns the

remaining 44% of Sonel, and Sonel is the sole distributor of

electricity in Cameroon.       (SAC ¶ 8.)    AES recently sold its

shares in Sonel to Actis Capital, LLP (“Actis”), a private

equity firm headquartered in the United Kingdom.           (SAC ¶ 6.)

Plaintiffs have not filed any proof of service of process on

Actis.    Thus, the movants here are only AES and Sonel.          (Def.

Mem. at 3.)

            According to the SAC, in 2001 AES entered into a

contract with the government of Cameroon “for the privatization

of electricity in Cameroon.”        (SAC ¶ 26.)    Plaintiffs allege

that AES and the government of Cameroon “intended to benefit

consumers of electrical power in Cameroon.”          (SAC ¶ 26.)    The

contract allegedly provides for the provision, supply and

distribution of electrical power in Cameroon.          (SAC ¶ 26.)

Plaintiffs do not have a copy of this alleged contract.
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Plaintiffs allege that Sonel, formerly a government owned

corporation was privatized in 2001 and that “investment by AES

corporation from USA was touted as the needed incentive to

improve power generation.”       (SAC ¶ 28.)

            Plaintiffs allege that the electrical supply provided

by Sonel is characterized by short circuits, voltage fluctuation

and electrical supply failure.        (SAC ¶ 2.)    Plaintiffs allege

that this substandard electrical supply has led to “death,

misery, regular power outages, and substantial economic losses”

between 2001 and the present.        (SAC ¶ 2.)    From August 2012 to

March 2013, for example, Cameroon recorded 8,337 power cuts.

(SAC ¶ 11.)     When the electricity comes back on after an outage,

high voltage on the line allegedly causes fires which have

damaged homes and businesses.        (SAC ¶¶ 11, 38-41.)     Plaintiffs

allege that these fires have resulted in the deaths of several

children.    (SAC ¶¶ 36-37.)

            Plaintiffs further allege that Defendants do not

timely provide consumers with their bills, (SAC ¶ 42), and that

specific local industries, including fishermen, (SAC ¶ 44),

merchants in electrical goods, (SAC ¶ 45), construction workers,

(SAC ¶ 46), milk factories, (SAC ¶ 47), and food markets (SAC ¶

48), have sustained economic losses because of electrical

blackouts.     (SAC ¶ 43.)


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            Plaintiffs aver that Sonel is “dependent on the AES

Corporation for the management and all major activities

necessary for the power generation, supply and regulation of the

power supply in Cameroon.”       (SAC ¶ 10.)    Plaintiffs allege that

Sonel “simply executes instructions and strategy emanating from

AES” and that the “lack of capital investment in electrical grid

or power infrastructure is reached in Arlington, VA.”            (SAC ¶

85.)

            Plaintiffs bring suit under the ATS and Virginia law.

Plaintiffs assert ten claims: (1) cruel, inhuman or degrading

treatment actionable under the ATS; (2) breach of third-party

contract; (3) wrongful death; (4) intentional infliction of

emotional distress; (5) negligent infliction of emotional

distress; (6) negligence / negligence per se; (7) civil

conspiracy; (8) loss of consortium; (9) negligent

misrepresentation; and (10) intentional misrepresentation.

Plaintiffs seek compensatory and punitive damages, injunctive

relief, specific performance of contract, and attorney’s fees

and costs.     (SAC at 38-39.)

            B.    Procedural Background

            On April 1, 2013, Plaintiffs filed their original

complaint in the Central District of California.           [Dkt. 1.]    On

October 15, 2013, Judge Gutierrez granted Plaintiffs’ Motion for

Leave to File First Amended Complaint (“FAC”).           [Dkt. 20.]    On
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November 14, 2013, AES moved to dismiss the FAC for lack of

personal jurisdiction under Rule 12(b)(2).          [Dkt. 29.]    On

February 6, 2014, Judge Gutierrez granted AES’s motion to

dismiss Plaintiffs’ FAC with leave to amend.          [Dkt. 38.]

            On March 10, 2014, Plaintiffs filed their Second

Amended Complaint, [Dkt. 40], and Motion to Transfer Venue,

pursuant to 28 U.S.C. § 1404(a) to the Eastern District of

Virginia, [Dkt. 39].      On March 31, 2014, Judge Gutierrez granted

Plaintiffs’ Motion to Transfer Venue.         [Dkt. 52.]

            On April 21, 2014, Defendants AES and Sonel filed

their Second Motion to Dismiss for Failure to State a Claim

(“Motion”).     [Dkt. 56.]    On May 12, 2014, Plaintiffs filed their

opposition.     [Dkt. 64.]    In their opposition brief, Plaintiffs

did not address counts 5 (negligent infliction of emotional

distress), 7 (civil conspiracy), 8 (loss of consortium), 9

(negligent misrepresentation), or 10 (intentional

misrepresentation).      By failing to address these counts in their

opposition, Plaintiffs have effectively abandoned these claims.

Nevertheless, the Court will briefly address the insufficiencies

of these counts.      See Freight Drivers & Helpers Local Union No.

557 Pension Fund ex rel. Joint Bd. of Trustees v. Penske

Logistics LLC, No. CIV.A. ELH-12-2376, 2014 WL 547043, at *8 (D.

Md. Feb. 7, 2014); Burns & Russell Co. of Baltimore v.

Oldcastle, Inc., 166 F. Supp. 2d 432, 440 (D. Md. 2001)
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(“Plaintiffs appear to concede this point, as they have failed

to respond to this argument”).        Defendants filed their reply on

May 19, 2014.     [Dkt. 68.]

            Defendants’ Motion is now before the Court.

                        II.    Standard of Review

            A.    12(b)(2)

            Federal Rule of Civil Procedure 12(b)(2) permits

dismissal of an action when the Court lacks personal

jurisdiction over the parties.        The plaintiff bears the burden

of demonstrating personal jurisdiction by a preponderance of the

evidence once its existence is questioned by the defendant.

Combs v. Bakker, 886 F.2d 673, 676 (4th Cir. 1989).           When a

district court decides a pretrial personal jurisdiction

dismissal motion without an evidentiary hearing, however, the

plaintiff need prove only a prima facie case of personal

jurisdiction.     Mylan Labs., Inc. v. Akzo, N.V., 2 F.3d 56, 60

(4th Cir. 1993); Combs, 886 F.2d at 676.          In deciding whether

the plaintiff has proved a prima facie case, the district court

must draw all reasonable inferences arising from the proof, and

resolve all factual disputes, in the plaintiff’s favor.            Combs,

886 F.2d at 676; Wolf v. Richmond Cnty Hosp. Auth., 745 F.2d

904, 908 (4th Cir. 1984), cert. denied, 474 U.S. 826 (1985).




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            B.    12(b)(6) and Rule 9(b)

            Rule 12(b)(6) allows a court to dismiss those

allegations which fail “to state a claim upon which relief can

be granted.”     Fed. R. Civ. P. 12(b)(6).      A 12(b)(6) motion tests

the legal sufficiency of the complaint.         Giarratano v. Johnson,

521 F.3d 298, 302 (4th Cir. 2008).         A court reviewing a

complaint on a 12(b)(6) motion must accept well-pleaded

allegations as true and must construe factual allegations in

favor of the plaintiff.       See Randall v. United States, 30 F.3d

518, 522 (4th Cir. 1994).

            A court must also be mindful of the liberal pleading

standards under Rule 8, which require only “a short and plain

statement of the claim showing that the pleader is entitled to

relief.”    Fed. R. Civ. P. 8.      While Rule 8 does not require

“detailed factual allegations,” a plaintiff must still provide

“more than labels and conclusions” because “a formulaic

recitation of the elements of a cause of action will not do.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007)

(citation omitted).

            To survive a 12(b)(6) motion, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’”           Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at

570).    “A claim has facial plausibility when the plaintiff
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pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the

misconduct alleged.”      Id.   However, “[t]hreadbare recitals of

the elements of a cause of action, supported by mere conclusory

statements, do not suffice” to meet this standard, id., and a

plaintiff’s “[f]actual allegations must be enough to raise a

right to relief above the speculative level . . . .”            Twombly,

550 U.S. at 555.      Moreover, a court “is not bound to accept as

true a legal conclusion couched as a factual allegation.”

Iqbal, 556 U.S. at 678.

            Rule 9(b) imposes a heightened pleading standard for

fraud claims.     “In alleging fraud [], a party must state with

particularity the circumstances constituting fraud or mistake.

Malice, intent, knowledge, and other conditions of a person’s

mind may be alleged generally.”        Fed. R. Civ. P. 9(b).      To

satisfy the heightened pleading standard of Rule 9(b), a

plaintiff must state with particularity “the time, place, and

contents of the false representations, as well as the identity

of the person making the misrepresentation and what he obtained

thereby.”    In re Mut. Funds Inv. Litig., 566 F.3d 111, 120 (4th

Cir. 2009) (quoting Harrison v. Westinghouse Savannah River Co.,

176 F.3d 776, 784 (4th Cir. 1999)), rev’d on other grounds, 131

S. Ct. 2296 (2011).


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                        III.    Analysis

            A.    Alter-Ego Liability

            Plaintiffs allege that Sonel provides faulty and

dangerous electrical supply in Cameroon, which has caused damage

to businesses, homes and in some cases, personal injury or

death.    In seeking to hold AES responsible for Sonel’s alleged

conduct, Plaintiffs proceed on a theory of alter-ego liability.

Plaintiffs aver that “there is such unity of interest and

ownership among the AES Corporation and AES Sonel that the

separate personalities of these entities no longer exist.”             (SAC

¶ 14.)    AES argues that it should be dismissed from this action

because none of Plaintiffs’ alleged injuries are “plausibly

traceable” to AES’s conduct.        (Def. Mem. at 8.)     Defendants

contend that Plaintiffs’ allegations as to alter-ego liability

merely parrot the legal standard and do not plausibly allege

either “such unity” that “the separateness of the corporation

has ceased” or that the corporate form has been misused to

perpetrate a fraud.      (Def. Mem. at 10-11.)      The Court will

dismiss AES from this action because the SAC fails to plausibly

allege that any actions taken by Sonel in Cameroon are imputable

to its parent company AES.

            As a general matter, the United States Court of

Appeals for the Fourth Circuit has “long recognized that a

corporation is an entity, separate and distinct from its
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 officers and stockholders, and the individual stockholders are

 not responsible for the debts of the corporation.”           Kinney Shoe

 Corp. v. Polan, 939 F.2d 209, 211 (4th Cir. 1991).           “[A]

 corporate entity is liable for the acts of a separate, related

 entity only under extraordinary circumstances, commonly referred

 to as ‘piercing the corporate veil.’”         Vitol, S.A. v. Primerose

 Shipping Co. Ltd., 708 F.3d 527, 543 (4th Cir. 2013) (citations

 omitted).    While the decision to pierce the corporate veil “must

 be taken reluctantly and cautiously, courts will not hesitate to

 take such action where justice so requires.”          Id.   The corporate

 veil may be pierced where “the corporate form would otherwise be

 misused to accomplish certain wrongful purposes, most notably

 fraud, on the shareholder’s behalf.”        United States v.

 Bestfoods, 524 U.S. 51, 63 (1998).

             In Virginia, the party seeking to pierce the corporate

 veil bears the burden of proof.        See Buffalo Wings Factory, Inc.

 v. Mohd, No. 1:07cv612, 2008 WL 4642163, at *6 (E.D. Va. Oct.

 15, 2008).    Virginia law provides that a court can pierce the

 corporate veil only upon showing that “(1) the corporation was

 the alter ego, alias, stooge, or dummy of the other entity; and

 (2) the corporation was a device or sham used to disguise

 wrongs, obscure fraud or conceal crime.”         Informatics

 Applications Grp. Inc. v. Shkolnikov, 836 F. Supp. 2d 400, 427

 (E.D. Va. 2011).     As Defendants note, Delaware law similarly
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 provides that to pierce the corporate veil on an alter ego

 theory, “the corporation must be a sham and exist for no other

 purpose than as a vehicle for fraud.”          IGEN Intern., Inc. v.

 Roche Diagnostics GmbH, 335 F.3d 303, 309 n.5 (4th Cir. 2003)

 (quoting In re Sunstates Corp., 788 A.2d 530, 534 (Del. Ch.

 2001)). 1    The Court turns first to the question of whether Sonel

 was merely the alter ego of AES.          The Court will then consider

 whether the corporate form was used as a vehicle for fraud.

               Alter ego liability may attach “where there is such

 unity between a corporation and an individual that the

 separateness of the corporation has ceased.”          1 William Meade

 Fletcher, Fletcher Cyclopedia of the Law of Corporations §

 41.10.      The Fourth Circuit has set forth several factors that

 “guide the determination of whether one entity constitutes the

 alter ego of another.”      Vitol, 708 F.3d at 544.       These factors

 include “gross undercapitalization, insolvency, siphoning of

 funds, failure to observe corporate formalities or maintain

 proper corporate records, non-functioning of officers, control



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   As a general proposition, “the law of the state of incorporation normally
 determines issues relating to the internal affairs of a corporation.” United
 States v. Kolon Indus., Inc., 926 F. Supp. 2d 794, 814 (E.D. Va. 2013).
 Here, Sonel, a Cameroonian entity, is the relevant corporation. Plaintiff
 has not, however, provided notice of intent to rely on foreign law and has
 briefed this matter in accordance with Virginia law. Moreover, according to
 Defendants, the French Civil Code serves as the primary source of civil law
 in Cameroon. Defendants state that French law is consistent with domestic
 law on piercing the corporate veil. (Def. Mem. at 9 n.5.)


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 by a dominant stockholder and injustice or fundamental

 unfairness.”    Id.

             Plaintiffs allege that there exists a unity of

 interest between Sonel and AES such that the “separate

 personalities of these entities no longer exist.”           (SAC ¶ 14.)

 Plaintiffs state that all of Sonel’s “operations, strategic

 contacts, billing, organization, executive officers and the

 like, are ordered from AES in Virginia.”         (SAC ¶ 15.)

 Plaintiffs allege that Sonel in Cameroon is simply “executing

 instructions and directives and strategy emanating from USA

 based directors.”     (SAC ¶ 17.)    By way of factual enhancement,

 Plaintiffs allege that “AES owns 56% of AES Sonel,” (SAC ¶ 8),

 “AES is a holding company with no material assets other than the

 stock of its subsidiaries,” (SAC ¶ 13), and AES’s officers

 certified in a Form 10-K filed with the SEC that they are

 responsible for establishing and maintaining financial

 disclosure controls and procedures for AES’s consolidated

 subsidiaries, (SAC ¶ 16).       While Plaintiffs recite the legal

 standard for alter-ego liability, they do make any specific

 allegations concerning the dealings of AES and Sonel that would

 give rise to such liability.       Instead, Plaintiffs’ allegations

 are wholly consistent with the normal incidents of corporate

 ownership.


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             The Supreme Court has stated “it is hornbook law that

 the exercise of the control which stock ownership gives to the

 stockholders will not create liability beyond the assets of the

 subsidiary.”    Bestfoods, 524 U.S. at 60 (citations omitted).

 “That control” the Supreme Court continued, “includes the

 election of directors, the making by-laws and the doing of all

 other acts incident to the legal status of stockholders.            Nor

 will a duplication of some or all of the directors or executive

 officers be fatal.”      Id.   (citations omitted).     The Court in

 Bestfoods further noted that in the context of parental

 oversight over a subsidiary’s facility, “monitoring of the

 subsidiary’s performance, supervision of the subsidiary’s

 finance and capital budget decisions and articulation of general

 policies and procedures, should not give rise to direct

 liability.”    Id.   “Indeed, parents ‘are almost always active

 participants in the affairs of an owned corporation . . . in the

 usual case, the exercise of such control over a subsidiary’s

 actions in entirely permissible.’”        S. Carolina Elec. & Gas Co.

 v. UGI Utils., Inc., No. 2:06cv2627-CWH, 2012 WL 1432543, at *60

 n.21 (D.S.C. Apr. 11, 2012) (quoting Esmark, Inc. v. NLRB, 887

 F.2d 739, 759 (7th Cir. 1989)).

             Even accepting Plaintiffs’ well-pled factual

 allegations as true, these facts suggest nothing more than the

 usual exercise of control to which stock ownership entitles a
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 parent company.     AES’s ownership of the majority of Sonel’s

 stock, and establishment and maintenance of financial disclosure

 procedures fall far short of any facts that would give rise to a

 plausible claim of alter-ego status.        Moreover, Plaintiffs’

 general allegations that Sonel “simply executes instructions,

 and directives and strategy emanating from AES” are devoid of

 any specific factual support.       These sweeping allegations do not

 contain the “‘factual enhancement’ necessary to cross ‘the line

 between possibility and plausibility of entitlement to relief.’”

 Vitol, 708 F.3d at 548 (quoting Twombly, 550 U.S. at 557).

             Likewise, Plaintiffs fail to plausibly allege that the

 corporate form was used as a vehicle for fraud.          See S.E.C. v.

 Woolf, 835 F. Supp. 2d 111, 124-125 (E.D. Va. 2011).

 Plaintiffs’ SAC advances no allegations concerning fraud.            While

 Plaintiffs argue in their brief that AES is attempting to use

 the corporate form to “defeat public convenience” and protect

 Sonel’s misconduct, Plaintiffs have not advanced any plausible

 factual allegations supporting such claims.          Beale v. Kappa

 Alpha Order, 192 Va. 382, 399 (1951).

             B.    Personal Jurisdiction over Sonel

             Sonel contends that it must be dismissed from this

 action because this Court does not have personal jurisdiction

 over it.    In Virginia, to establish jurisdiction over a non-

 resident, this Court must consider first whether jurisdiction is
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 authorized by Virginia law, and then whether the exercise of

 jurisdiction comports with the due process requirements of the

 Fourteenth Amendment to the United States Constitution.

 Consulting Eng’rs Corp. v. Geometric, Ltd, 561 F.3d 273, 277

 (4th Cir. 2009).     As Virginia’s general long-arm statute extends

 personal jurisdiction to the fullest extent permitted by due

 process, the statutory inquiry merges with the constitutional

 inquiry.    Young v. New Haven Advocate, 315 F.3d 256, 261 (4th

 Cir. 2002).    As a result, the Court need only undertake one

 inquiry to determine whether the exercise of jurisdiction here

 comports with the Fourteenth Amendment’s due process

 requirements.

             To satisfy the requirements of due process, a

 defendant must have sufficient “minimum contacts” with the forum

 state “such that the maintenance of the suit does not offend

 traditional notions of fair play and substantial justice.”

 Int’l Shoe Co. v. Wash., 326 U.S. 310, 316 (1945).           To meet this

 minimum contacts test, a plaintiff must show that a defendant

 “‘purposefully directed his activities at the residents of the

 forum’ and the litigation results from alleged injuries that

 ‘arise out of’ those activities.”         Burger King v. Rudzewicz, 471

 U.S. 462, 472 (1985).      This test is designed to ensure that the

 defendant is not “haled into a jurisdiction solely as a result


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 of random, fortuitous, or attenuated contacts.”          Consulting

 Eng'rs Corp., 561 F.3d at 277.

             Two types of personal jurisdiction meet these

 constitutional requirements: specific jurisdiction and general

 jurisdiction.     In analyzing the due process requirements for

 asserting specific jurisdiction, the Fourth Circuit has set out

 a three part test in which the Court must consider, in order,

 (1) “the extent to which the defendant purposefully availed

 itself of the privilege of conducting activities in the State”;

 (2) “whether the plaintiffs’ claims arise out of those

 activities directed at the State”; and (3) “whether the exercise

 of personal jurisdiction would be constitutionally reasonable.”

 Consulting Eng’rs Corp., 561 F.3d at 279 (citing ALS Scan, Inc.

 v. Digital Serv. Consultants, Inc., 293 F.3d 707, 712 (4th Cir.

 2002)).    General jurisdiction exists for claims entirely

 distinct from the defendant’s in-state activities where a

 defendant’s activities in a state have been “continuous and

 systematic.”    Helicopteros Nacionales de Colombia, S.A. v. Hall,

 466 U.S. 408, 415-16 (1984).       Defendants contend that because

 Plaintiffs’ claims against Sonel stem entirely from alleged

 conduct and injury in Cameroon, specific jurisdiction is

 unavailable.    (Def. Mem. at 12.)      Likewise, Defendants argue,

 general jurisdiction is impermissible because Sonel maintains no

 continuous or systematic business contacts with Virginia.            (Def.
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 Mem. at 12.)    Plaintiffs contend that Sonel does not have a

 “separate legal personality from AES” and that the relationship

 between Sonel and AES provides a basis for the exercise of both

 specific and general jurisdiction.        (Pl. Opp’n at 13.)

             Turning first to specific jurisdiction, it is clear

 that the facts alleged will not support specific jurisdiction.

 Plaintiffs’ claims against Sonel arise out of Sonel’s activities

 in Cameroon.    (SAC ¶¶ 10, 11.)     The alleged power failures at

 issue and resulting injuries all occurred in Cameroon.

 Plaintiffs’ claims do not stem from any activity Sonel directed

 at this forum.

             Nor does AES’s corporate presence in Virginia provide

 a basis for general jurisdiction over Sonel.          In Goodyear Dunlop

 Tires Operations, S.A. v. Brown, the Supreme Court addressed the

 question of general jurisdiction over the foreign subsidiaries

 of Goodyear USA, an Ohio corporation.         131 S. Ct. 2846 (2011).

 The Court explained, “[f]or an individual, the paradigm forum

 for the exercise of general jurisdiction is the individual’s

 domicile; for a corporation it is an equivalent place, one in

 which the corporation is fairly regarded as at home.”           131 S.

 Ct. at 2854 (citing Brilmayer et al., A Look at General

 Jurisdiction, 66 Texas L. Rev. 721, 728 (1988) (identifying

 domicile, place of incorporation and principal place of business

 as “paradig[m]” bases for the exercise of general
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 jurisdiction)).     The Court found that Goodyear USA’s foreign

 subsidiaries, which had merely placed a product into the stream

 of commerce were “in no way at home in North Carolina” and could

 not be required to submit to the general jurisdiction of North

 Carolina courts.     Id.; see Daimler AG v. Bauman, 134 S. Ct. 746,

 757 (2014).    Here, Plaintiffs make no allegations that Sonel

 itself is at home in Virginia or has had any contact with

 Virginia, much less “continuous and systematic” activities.

 Helicopteros, 466 U.S. at 415-16.        While Plaintiffs focus on

 Sonel’s relationship to AES, merely having a domestic parent

 company is not itself a sufficient connection to the state to

 confer jurisdiction over a foreign subsidiary.          See Goodyear,

 131 S. Ct. at 2857-58.

             Additionally, Plaintiffs invoke an alter-ego theory,

 arguing that this Court’s jurisdiction over AES encompasses

 Sonel as well.     In Goodyear, the Supreme Court noted, but did

 not address the question of piercing the corporate veil for

 jurisdictional purposes.      Goodyear, 131 S. Ct. at 2857.        The

 Court did, however, point to the relevant authority: “the issue

 of jurisdictional merger is comparable to the corporate law

 question of piercing the corporate veil.”         Brilmayer & Paisley,

 Personal Jurisdiction and Substantive Legal Relations:

 Corporations, Conspiracies, and Agency, 74 Cal. L. Rev. 1, 14,

 29–30 (1986).     As previously discussed, Plaintiffs fail to
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 plausibly allege that Sonel is the mere alter ego of AES such

 that the corporate form should be disregarded.          Accordingly,

 this Court has no basis for exercising jurisdiction over Sonel.

             C.    ATS Claim

             Even if this Court were to find that it could impute

 Sonel’s actions to AES and that the Court has jurisdiction over

 Sonel, Plaintiffs are not entitled to relief brought under the

 ATS.   Count 1 of Plaintiffs’ SAC alleges cruel, inhuman, or

 degrading treatment actionable under the ATS.          (SAC ¶¶ 93-99.)

 Defendants argue that this claim fails for three reasons: (1)

 providing unreliable power supply does not violate an accepted

 norm of international law; (2) the ATS does not apply

 extraterritorially; and (3) the ATS does not impose liability on

 corporations.

             The ATS is a jurisdictional statute, providing that

 “[t]he district courts shall have original jurisdiction of any

 civil action by an alien for a tort only, committed in violation

 of the law of nations or a treaty of the United States.”            28

 U.S.C. § 1350.     The ATS provides the district court with

 jurisdiction to hear certain claims.        It does not expressly

 provide any causes of action.       Kiobel v. Royal Dutch Petroleum

 Co., 133 S. Ct. 1659, 1663 (2013).        Congress enacted the ATS in

 response to “violations of international law committed within

 the United States against foreign ambassadors.”          Al Shimari v.
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 CACI Intern., Inc., 951 F. Supp. 2d 857, 863 (E.D. Va. 2013).

 In Sosa v. Alverez-Machain, 542 U.S. 692 (2004), the Supreme

 Court explained that at the time the ATS was enacted, the “three

 principal offenses against the law of nations” were “violation

 of safe conducts, infringement of the rights of ambassadors, and

 piracy.”    Kiobel, 133 S. Ct. at 1666 (quoting Sosa, 542 U.S. at

 723-24.)    Therefore, federal courts “should not recognize

 private claims under federal common law for violations of any

 international law norm with less definite content and acceptance

 among civilized nations than the historical paradigms familiar

 when [the ATS] was enacted.”       Id. (quoting Sosa, 542 U.S. at

 732.)

             It is generally accepted that the ATS provides

 jurisdiction over cases “involving various forms of official or

 state sponsored torture, genocide, war crimes, crimes against

 humanity, as well as forced labor, servitude or slavery.”            14A

 The Late Charles Alan Wright & Arthur R. Miller, Fed. Prac. &

 Proc. Juris. § 3661.2 (4th ed. 2014).         Federal courts have also

 exercised jurisdiction over ATS cases involving “cruel, inhuman

 or degrading treatment, violations of diplomatic immunity, many

 instances of racial discrimination, extrajudicial killings,

 nonconsensual medical experimentation on humans, sexual assault

 against minors, arbitrary arrest and detention and arbitrary

 denationalization.”      Id.
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             Plaintiffs allege that Defendants’ provision of

 substandard electrical supply and the attendant injuries

 suffered by Plaintiffs constitute cruel, inhuman or degrading

 treatment actionable under the ATS.        (SAC ¶ 95.)    Plaintiffs

 argue that “electricity, as a form of sustainable development is

 a basic human need in the modern world.”         (Pl. Opp’n at 18.)

 As Defendants correctly contend, however, their alleged failure

 to supply electrical services in a safe or consistent manner is

 simply not a violation of a “specific, universal, and

 obligatory” norm of international law.         Sosa, 124 S. Ct. at 732.

 Plaintiffs do not point to any cases – and the Court’s own

 research reveals none – where a court imposed liability under

 the ATS for substandard utility supply.         Plaintiffs, apparently

 recognizing this limitation, have pleaded their claim as an

 alleged violation of the recognized norm against “cruel, inhuman

 or degrading treatment.”      This norm, however, does not encompass

 the acts alleged here.

             As a general matter, “[t]he prohibition of cruel,

 inhuman and degrading treatment has been widely recognized in

 numerous sources of international law.”         Bowoto v. Chevron

 Corp., 557 F. Supp. 2d 1080, 1092 (N.D. Cal. 2008).           The court

 in Bowoto set forth a spectrum along which those cases that have

 recognized the prohibition of cruel, inhuman and degrading

 treatment fall.     On one end, a court found that this norm was
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 actionable under the ATS where plaintiffs “witness the torture

 or severe mistreatment of an immediate relative; watch soldiers

 ransack their home and threaten their family; or have a grenade

 thrown at them.”     Id. (quoting Xuncax v. Gramajo, 886 F. Supp.

 162, 187 (D. Mass. 2008)).       On the other end of the spectrum,

 the court in Doe v. Qi found that “incarceration for one day and

 being pushed, shoved, hit and placed in a choke-hold are not

 severe enough to uphold a claim of cruel, inhuman or degrading

 treatment under the ATS.”       Id. (quoting Doe v. Qi, 349 F. Supp.

 2d, 1258, 1325 (N.D. Cal. 2004)).        The alleged power failures

 and attendant injury here fall nowhere near the types of

 injuries found actionable as violations of a norm against cruel,

 inhuman or degrading treatment.        Plaintiffs do not allege the

 type of intentional, targeted persecution present in other cases

 that invoke this norm.      At best, Plaintiffs’ claim is that

 Defendants’ provision of substandard electrical supply impedes

 their ability to live their daily lives comfortably and safely.

 This is no small matter.      The gravity of the resulting injury to

 Plaintiffs, however, does not transform Defendants’ alleged acts

 or inaction into the type of malicious, intentional conduct

 actionable under recognized norms of international law.

             Moreover, recognition of the norm regulating reliable

 electrical services sought by Plaintiffs would be inadvisable

 for policy reasons.      In Kiobel, the Supreme Court cautioned
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 against the recognition of new norms of international law.            The

 Court stated, “[s]ince many attempts by federal courts to craft

 remedies for the violation of new norms of international law

 would raise risks of adverse foreign policy consequences, they

 should be undertaken, if at all, with great caution.”           Kiobel,

 133 S. Ct. at 1664 (quoting Sosa, 542 U.S. at 727).           In Sosa,

 the Court directed courts to “consider carefully the ‘practical

 consequences of making [a] cause of action available to

 litigants in the federal courts.’”        In re XE Servs. Alien Tort

 Litig., 665 F. Supp. 2d 569, 579 (E.D. Va. 2009) (quoting Sosa,

 542 U.S. at 732-33).      Defendants argue that recognizing

 Plaintiffs’ cause of action would “effectively transform the

 U.S. federal courts in to a global utilities tribunal.”            (Def.

 Mem. at 17.)    The Court agrees that the potential consequences

 allowing a cause of action under the ATS on a substandard

 electrical supply theory may have both serious and unforeseen

 results.    Recognition of a cause of action under the ATS for the

 provision of regular utilities services in foreign countries

 would be extremely meddlesome.       Therefore, because it would be

 both unprecedented and imprudent to do so, the Court will not

 recognize Plaintiffs’ cause of action under the ATS.

             Plaintiffs’ failure to identify a “specific, universal

 and obligatory” norm of international law is fatal to their

 claim under the ATS.      Sosa, 542 U.S. at 733.      The Court will
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 nevertheless briefly address the additional questions of

 extraterritoriality and corporate liability.

             In 2013, the Supreme Court first addressed the issue

 of the ATS’s extraterritorial application in Kiobel.           In Kiobel,

 Nigerian nationals in the United States filed suit under the ATS

 alleging that certain Dutch, British and Nigerian corporations

 aided and abetted the Nigerian government in committing

 violations of the law of nations.        Kiobel, 133 S. Ct. at 1662.

 The Second Circuit dismissed the complaint in its entirety,

 finding that “the law of nations does not recognize corporate

 liability.”    Id. at 1663.     After oral argument, the Supreme

 Court directed the parties to file supplemental briefs

 addressing the question of whether the “ATS confers jurisdiction

 over claims arising from tortious acts occurring abroad.”            Al

 Shimari, 951 F. Supp. 2d at 864.

             The Court in Kiobel found “that the presumption

 against extraterritoriality applies to claims under the ATS, and

 that nothing in the statute rebuts that presumption.”           Kiobel,

 133 S. Ct. at 1669.      The Court explained that “[o]n these facts,

 all the relevant conduct took place outside the United States.”

 Id.   Moreover, “even where the claims touch and concern the

 territory of the United States, they must do so with sufficient

 force to displace the presumption against extraterritorial

 application.”     Id.   “Corporations are often present in many
                                     24
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 countries, and it would reach too far to say that mere corporate

 presence suffices.”      Id.

             Post-Kiobel, “some courts have dismissed ATS claims

 for alleging purely extraterritorial conduct.”          Du Daobin v.

 Cisco Sys. Inc., No. 11-1538, 2014 WL 769095, at *9 (D. Md. Feb.

 24, 2014) (citing Balintulo v. Daimler AG, 727 F.3d 174 (2d Cir.

 2013) (dismissing ATS claims brought against South African

 subsidiary companies for aiding and abetting violations of

 international law committed by the South African government);

 Chen Gang v. Zhao Zhizhen, No. 3:04–CV–1146–RNC, 2013 WL 5313411

 (D. Conn. Sept. 20, 2013) (dismissing ATS action as a

 “paradigmatic ‘foreigncubed’ case” where the parties were

 present in China and the alleged violations of international law

 all took place in China) (collecting cases); Al Shimari v. CACI

 Intern., Inc., 951 F. Supp. 2d at 858 (dismissing ATS claims

 where “the acts giving rise to their tort claims occurred

 exclusively in Iraq, a foreign sovereign”)); Chowdhury v.

 Worldtel Bangladesh Holding, Ltd., 746 F.3d 42, 49 (2d Cir.

 2014) (dismissing ATS claims where “all the relevant conduct set

 forth in plaintiff’s complaint occurred in Bangladesh”).

             The present case fits comfortably within the realm of

 cases dismissed for alleging purely extraterritorial conduct.

 As in Al Shimari, the alleged acts giving rise to Plaintiffs’

 claims “occurred exclusively on foreign soil.”          Al Shimari, 951
                                 25
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 F. Supp. 2d at 866.      Plaintiffs attempt avoid Kiobel by pleading

 that “AES Corporation is a U.S. Corporation and ‘corporate

 presence’ in the United States is sufficient for a claim to

 ‘touch and concern’ the United States” where the corporation

 profits from and is actively involved in the decision-making of

 its foreign subsidiaries.       (SAC ¶ 12.)    The Supreme Court,

 however, has stated just the opposite – “it would reach too far

 to say that mere corporate presence suffices.”          Kiobel, 133 S.

 Ct. at 1670.    Plaintiffs’ allegations that AES profits from and

 directs the decision-making process of Sonel – mere incidents of

 shareholder status - do not “touch and concern the territory of

 the United States” with “sufficient force to displace the

 presumption against extraterritorial application.”           Kiobel, 133

 S. Ct. at 1669.

             Finally, Defendants argue that corporate liability is

 impermissible under the ATS.       Defendants, citing to the Second

 Circuit in Kiobel, assert that corporate liability is not a

 recognized norm of customary international law.          Kiobel v. Royal

 Dutch Petroleum, 621 F.3d 111, 149 (2d Cir. 2010), aff’d on

 other grounds, 133 S. Ct. 1659 (2013).         Plaintiffs cite to

 several pre-Kiobel cases that recognized corporate liability

 under the ATS.     See Doe v. Exxon Mobil Corp., 654 F.3d 11, 57

 (D.C. Cir. 2011), vacated, 527 F. App’x 7, 7 (D.C. Cir. 2013);

 Sarei v. Rio Tinto PLC, 671 F.3d 736, 761 (9th Cir. 2011) (en
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 banc), cert. granted and judgment vacated, 133 S. Ct. 1995

 (2013) (vacating on the basis of Kiobel), dismissed on remand,

 722 F.3d 1109 (9th Cir. 2013) (affirming the district court’s

 dismissal with prejudice); Flomo v. Firestone Natural Rubber

 Co., 643 F.3d 1013, 1021 (7th Cir. 2011).         Plaintiffs further

 note that the Supreme Court in Kiobel appeared to contemplate

 the possibility of corporate liability.         Kiobel, 133 S. Ct. at

 1669 (“Corporations are often present in many countries, and it

 would reach too far to say that mere corporate presence

 suffices.”).    The Fourth Circuit has not addressed this issue.

             Post-Kiobel, several courts have found that

 corporations may be held liable under the ATS.          See Doe I v.

 Nestle USA, Inc., 738 F.3d 1048, 1049 (9th Cir. 2013); In re

 South African Apartheid Litig., No. 02 MDL 1499, 2014 WL

 1569423, at *6-9 (S.D.N.Y. Apr. 17, 2014).         Defendants ask the

 Court to find that corporate liability is not an international

 norm under Sosa.     (Def. Mem. at 20.)     Given the Supreme Court’s

 statements, albeit in dicta, in Kiobel and the reasoning of

 other courts, both pre and post-Kiobel, the Court is not

 convinced that Defendants are correct.         As this Court has

 explained, “[n]othing in the ATS or Sosa may plausibly be read

 to distinguish between private individuals and corporations;

 indeed, Sosa simply refers to both individuals and entities as

 ‘private actors.’”     In re XE Services Alien Tort Litig., 665 F.
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 Supp. 2d at 588.        Therefore, the Court in In re XE Services

 found that “claims alleging direct corporate liability for war

 crimes are cognizable under the ATS.”          Id.    This Court sees no

 principled basis for concluding that alleged violations of an

 international norm against cruel, inhuman and degrading

 treatment should be treated any differently than liability for

 war crimes.      Accordingly, while Plaintiffs’ ATS claim fails on

 other grounds, AES and Sonel are not categorically immune under

 the ATS merely because of their corporate status.

             D.     Common Law Claims

                    1.     Breach of Contract

             Count two of the SAC alleges breach of a third-party

 contract.    (SAC ¶¶ 100-112.)      Plaintiffs allege that in 2001,

 Defendants entered into a written contract with the government

 of Cameroon, in which Defendants “agreed to supply reliable

 power supply” in Cameroon.        (SAC ¶ 101.)   Plaintiffs allege that

 the parties entered this contract for the benefit of “consumers

 of electrical power in Cameroon in general, of which plaintiffs

 form the group.”        (SAC ¶ 102.)   Plaintiffs allege that

 Defendants breached this contract by failing to provide reliable

 electrical supply in Cameroon.         (SAC ¶ 104.)    Defendants argue

 that this claim must be dismissed because Plaintiffs fail to

 plausibly allege that they are intended third-party


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 beneficiaries of a contract to which AES or Sonel is a party.

 (Def. Mem. at 20.)

             A third-party beneficiary’s right to assert a claim

 arising from a contract is conferred by statute in Virginia.

 Section 55-2 of the Virginia Code provides, in relevant part,

 that:

             [I]f a covenant or promise be made for the
             benefit, in whole or in part, or a person
             with whom it is not made, or with whom it is
             made jointly with others, such person,
             whether named in the instrument or not, may
             maintain in his own name any action thereon
             which he might maintain in case it had been
             made with him only and the consideration has
             moved from him to the party making such
             covenant or promise.

 Va. Code Ann. § 55-2 (2013).       In determining whether a contract

 is made for the benefit of a third-party, the Virginia Supreme

 Court distinguishes between incidental and intended third-party

 beneficiaries.     Kelly Health Care, Inc. v. Prudential Ins. Co.

 of Am. Inc., 226 Va. 376, 380 (1983).         A third-party does not

 have standing unless “the parties to the contract clearly and

 definitely intended it to confer a benefit upon him.”           Id.

 (quoting Professional Realty v. Bender, 216 Va. 737, 739

 (1976)).    A potential or incidental beneficiary of a contract

 has no standing to sue.      Id.   Moreover, “it is not enough that

 the third-party is ‘only one member of a large class’ of

 possible beneficiaries under the contract.”          Bosworth v. Vornado

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 Realty L.P., No. CL-2010-11031, 2010 WL 8925838, at *9 (Va. Cir.

 Ct. Dec. 20, 2010) (citing Kelly Health Care, 226 Va. at 380).

 “Rather, the third-party must be specifically envisioned in the

 contract.”    Id.

             In this case, Plaintiffs allege that Defendants

 entered into a written contract with the government of Cameroon

 to provide “reliable power supply” to the country.           (SAC ¶ 101.)

 Plaintiffs aver that “this contract was entered into for the

 benefits of Cameroon people, including Plaintiffs.”           (SAC ¶¶

 101, 102)    Plaintiffs do not have a copy of the alleged contract

 or know any of the specific language therein.

             Drawing all reasonable inferences in Plaintiffs’

 favor, these allegations are nevertheless insufficient to

 support a finding that Plaintiffs are the intended beneficiaries

 of any contract between AES, Sonel and the government of

 Cameroon.    Plaintiffs’ SAC alleges only that in 2001 AES and the

 government of Cameroon entered into a contract intending “to

 benefit consumers of electrical power in Cameroon in general, of

 which Plaintiffs form the group.”         (SAC ¶ 102.)   Plaintiffs do

 not allege that the parties to the contract “clearly and

 definitely” intended to confer a benefit on them individually.

 Instead, the SAC specifically states that the contract was

 formed to benefit consumers “in general.”


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             Plaintiffs lack standing as they are at best the

 “potential and incidental beneficiar[ies] of a contract intended

 to benefit a much larger and diffuse class.”           Bosworth, 2010 WL

 8925838, at *10 (“Plaintiff has standing only if the contract

 clearly and definitely intended to confer a benefit on Mrs.

 Bosworth”); Kelly Health Care, 226 Va. at 380 (finding that

 plaintiff did not have standing to sue as third party

 beneficiary where it was “only one member of a health care

 providers” and therefore a “potential and incidental, and never

 the intended, beneficiary of the contract”).           Plaintiffs are, at

 best, members of a large class of consumers of electricity

 within Cameroon. 2

             Moreover, while Plaintiffs allege the existence of a

 written contract between AES, Sonel and the government of

 Cameroon, the SAC contains no plausible factual allegations

 about the alleged contract’s contents.          Plaintiffs have not

 provided the Court with any facts about the text of the contract

 itself tending to nudge its third-party beneficiary claims over

 the line from possible to plausible.



 2
   Moreover, the Restatement (Second) of Contracts supports the view taken by
 Virginia courts. The Restatement explains, “[g]overnment contracts often
 benefit the public, but individuals members of the public are treated as
 incidental beneficiaries unless a different intention is manifested.”
 Restatement (Second) of Contracts § 313 cmt. a (1981). Plaintiffs’ pleading
 is devoid of any facts indicating that the intention of the alleged contract
 between AES, Sonel and the government of Cameroon was other than to benefit
 the public at large.
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                   2.     Negligence Claims

             Counts five and six of the SAC allege negligent

 infliction of emotional distress, (SAC ¶¶ 118-124), negligence

 and negligence per se, (SAC ¶¶ 125-129).         Defendants argue that

 Plaintiffs’ negligence claims all fail to allege any cognizable

 duty running from AES to Plaintiffs under Virginia law, or from

 Sonel to Plaintiffs.       (Def. Mem. at 23.)

                          a.   Negligent infliction of emotional
                               distress

             “As an initial matter, there can be no actionable

 negligence unless there is a legal duty, a violation of the

 duty, and a consequent injury.”        Robertson v. Prince William

 Hosp., No. 1:11cv820, 2012 WL 1448101, at *5 (E.D. Va. Apr. 25,

 2012) (quoting Villnow v. DeAngelis, 55 Va. Cir. 324, 225 (Va.

 Cir. Ct. 2001)).       To state a claim for negligent infliction of

 emotional distress (“NIED”), a plaintiff must “properly plead

 and prove[] by clear and convincing evidence that his [or her]

 physical injury was the natural result of fright or shock

 proximately caused by the defendant’s negligence.”           Lucas v.

 Henrico Cnty Sch. Bd., 822 F. Supp. 2d 589, 609 (E.D. Va. 2011)

 (quoting Delk v. Columbia / HCA Healthcare Corp., 259 Va. 125,

 137 (2000)).    Defendants argue that Plaintiffs fail to allege

 any duty running from AES or Sonel to Plaintiffs.           (Def. Mem. at

 23.)   Defendants further contend that Plaintiffs fail to allege

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 the required physical symptoms.        (Def. Mem. at 25.)     Plaintiffs

 do not address this claim in their opposition brief.

                The Court agrees that Plaintiffs’ NIED claim fails

 to sufficiently allege the required element of physical injury.

 While the SAC states that Plaintiffs suffered “emotional and

 physical distress,” Plaintiffs’ allegation is a mere recitation

 of the legal standard, devoid of any factual support.           (SAC ¶

 122.)     Moreover, many of the Plaintiffs are “business groups”

 who are not alleged to have suffered any physical injury and

 instead sustained only economic losses.         (SAC ¶¶ 44-48.)     The

 SAC does not specifically relate which Plaintiffs allegedly

 suffered physical injury and which sustained merely economic

 loss.     Accordingly, Plaintiffs’ NIED claim will be dismissed.

                        b.    Negligence per se

             Under Virginia law, to state a claim of negligence per

 se, a plaintiff must allege: (1) that the defendant violated a

 statute enacted for public safety; (2) that the plaintiff

 belongs to the class of persons for whose benefit the statute

 was enacted, and that the harm that occurred was of the type

 against which the statute was designed to protect; and (3) that

 the statutory violation is a proximate cause of the plaintiff’s

 injury.    Kaltman v. All Am. Pest Control, Inc., 281 Va. 483, 496

 (2011).    Plaintiffs allege that Defendants’ conduct constitutes

 negligence per se because the “uncontrolled and unreliable power
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 supply to the dwellings and business units in Cameroon” violates

 “numerous Federal statutes.”       (SAC ¶ 128.)    Plaintiffs do not,

 however, identify any statute that imposes a duty of care on AES

 and Sonel.    Likewise, Plaintiffs do not allege that they belong

 to a class of persons for whose benefit any such federal statute

 was enacted.    In their opposition brief, Plaintiffs contend that

 they “can arguably be in the class of persons that a safety

 statute was trying to protect.”        (Pl. Opp’n at 23.)     Plaintiffs’

 failure to identify an actual, rather than merely hypothetical,

 safety statute designed to protect against the types of harm

 suffered here, renders the claim of negligence per se a

 nonstarter.

                       c.     Ordinary negligence

             In Virginia, a claim for negligence must include

 allegations that: (1) a legal duty was owed by the Defendant;

 (2) that duty was breached by the Defendant; and (3) a harm or

 injury was proximately caused by the breach.          Tohotcheu v.

 Harris Teeter, Inc., No. 1:11-CV-767, 2011 WL 5873074, at *4

 (E.D. Va. Nov. 22, 2011).       Defendants argue that Plaintiffs fail

 to allege any duty running from AES or Sonel to Plaintiffs

 independent of the alleged contractual relationship.           (Def. Mem.

 at 23.)

             As to AES, the Court agrees.       Plaintiffs fail to

 allege any common law duty running from AES – a holding company
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 - to Plaintiffs.     Plaintiffs’ SAC appears to allege a theory of

 “negligent hiring, training supervision and/or retention.”            (SAC

 ¶ 127.)    Plaintiffs, however, “fail[] to specify what actions of

 Defendant constituted a breach of the legal duty to hire

 suitable employees.”      Morgan v. Wal-Mart Stores E., LP, No.

 3:10CV669-HEH, 2010 WL 4394096, at *3 (E.D. Va. Nov. 1, 2010).

             However, the Court disagrees with Defendants’

 assertion that Plaintiffs fail to allege a cognizable duty on

 the part of Sonel.     Sonel is an electricity distributor.         As

 such, it has a common law duty to exercise “a care commensurate

 with the danger of the instrumentality.”         Jeffress v. Va. Ry. &

 P. Co., 127 Va. 694, 714 (1920).        Evaluating the SAC as a whole,

 in the light most favorable to Plaintiffs, some of the

 Plaintiffs have advanced plausible factual allegations that

 Sonel breached its duty to use due care in providing electrical

 services.    Many of the Plaintiffs allege only economic losses.

 These Plaintiffs fail to state a claim for negligence.           See Am.

 Online, Inc. v. St. Paul Mercury Ins. Co., 207 F. Supp. 2d 459,

 470 (E.D. Va. 2002) aff'd, 347 F.3d 89 (4th Cir. 2003) (“The

 economic loss rule generally bars claims in tort for economic

 losses, limiting recovery for such losses to the law of

 contract.”).    The Plaintiffs alleging property damage, however,

 do appear to state a claim for negligence against Sonel, albeit

 one over which this Court does not have jurisdiction.
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                   3.   Intentional Infliction of Emotional Distress

             Count four of the SAC alleges intentional infliction

 of emotional distress (“IIED”).        (SAC ¶¶ 113-117.)     To succeed

 on an IIED claim in Virginia, a plaintiff must allege, and then

 prove by clear and convincing evidence that: (1) “the

 wrongdoer’s conduct is intentional or reckless”; (2) “the

 conduct is outrageous and intolerable”; (3) “the alleged

 wrongful conduct and emotional distress are causally connected”;

 and (4) “the distress is severe.”        Russo v. White, 241 Va. 23,

 26 (1991).    This cause of action is generally disfavored.          Almy

 v. Grisham, 273 Va. 68, 81 (2007).        Specifically, liability for

 IIED has been found “only where the conduct has been so

 outrageous in character, and so extreme in degree, as to go

 beyond all possible bounds of decency, and to be regarded as

 atrocious and utterly intolerable in a civilized community.”

 Russo, 241 Va. at 27.      Liability for IIED “does not extend to

 mere insults, indignities, threats, annoyances, petty

 oppressions or other trivialities.”        Gaiters v. Lynn, 831 F.2d

 51, 53 (4th Cir. 1987).      Instead, it “arises only when the

 emotional distress is extreme, and where the distress inflicted

 is so severe that no reasonable person could be expected to

 endure it.”    Russo, 241 Va. at 27.

             Defendants contend that Plaintiffs merely parrot the

 legal standard for IIED without alleging any facts to support
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 such a claim.     (Def. Mem. at 26.)     In their opposition,

 Plaintiffs reiterate that the power failures at issue have

 caused “economic damage, deprivation of basic human rights, and

 the loss of human life.”      (Pl. Opp’n at 24.)      Plaintiffs do not

 directly address the claimed shortcomings in their SAC, and

 instead argue that the Court must permit discovery to allow them

 the opportunity to prove that “these power failures were a

 direct result of the Defendants’ reckless and negligent

 conduct.”    (Pl. Opp’n at 24.)

             Plaintiffs’ IIED claim fails, because, among other

 reasons, the SAC fails to sufficiently allege the element of

 intent.    “The first element is satisfied where the defendant had

 the specific purpose of inflicting emotional distress or where

 the specific conduct was intended and the actor knew or should

 have known that emotional distress would likely result.”            Dixon

 v. Denny’s, Inc., 957 F. Supp. 792, 796 (E.D. Va. 1996).

 Plaintiffs fail to allege any facts supporting a theory that

 Defendants acted with the specific purpose of causing Plaintiffs

 emotional distress or that Defendants’ alleged conduct was

 intended.

                   4.   Misrepresentation Claims

             Counts nine (SAC ¶¶ 140-144) and ten (SAC ¶¶ 145-149)

 of the SAC allege negligent misrepresentation and intentional

 misrepresentation respectively.       At the outset, the Court notes
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 that these claims as labeled are not actionable under Virginia

 law.   See Baker v. Elam, 883 F. Supp. 2d 576, 581 (E. D. Va.

 2012) (“Virginia courts . . . do not recognize negligent

 misrepresentation as a separate cause of action from that of

 constructive fraud”); Skyes v. Bayer Pharmaceuticals Corp., 548

 F. Supp. 2d 208, 216-217 (E.D. Va. 2008) (“In Virginia,

 intentionally making a false representation is an element of a

 claim for ‘actual fraud’”).       The Court will therefore construe

 counts nine and ten as claims for constructive fraud and actual

 fraud.

             To state a claim of actual fraud a Plaintiff must

 demonstrate: (1) a false representation by the defendant, (2) of

 a material fact, (3) made intentionally, (4) with intent to

 mislead, (5) reliance by the party misled, and (6) resulting

 damage to the party misled.       State Farm Mut. Auto. Ins. Co. v.

 Remley, 270 Va. 209, 219 (2005).        “Constructive fraud consists

 of the same elements; however ‘the misrepresentation of material

 fact is not made with the intent to mislead, but is made

 innocently or negligently.’”       Stone Castle Financial, Inc. v.

 Friedman, Billings, Ramsey & Co., Inc., 191 F. Supp. 2d 652, 662

 (E.D. Va. 2002) (quoting Hitachi Credit Am. Corp. v. Signet

 Bank, 166 F.3d 614, 628 (4th Cir. 1999)).

             To plead fraud, a plaintiff must also meet the

 requirements of Rule 9(b) of the Federal Rules of Civil
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 Procedure.    Under Rule 9(b), claims alleging fraud are subjected

 to a heightened pleading standard, which requires the plaintiff

 to “state with particularity the circumstances constituting

 fraud.”    Fed. R. Civ. P. 9(b).     A plaintiff claiming fraud must

 allege “the time, place, and contents of the false

 representations, as well as the identity of the person making

 the misrepresentation and what he obtained thereby.”           United

 States ex rel. Wilson v. Kellogg Brown & Root, Inc., 525 F.3d

 370, 379 (4th Cir. 2008) (quoting In re Mut. Funds Inv. Litig.,

 566 F.3d 111, 120 (4th Cir. 2009)).        “[L]ack of compliance with

 Rule 9(b)’s pleading requirements is treated as a failure to

 state a claim under Rule 12(b)(6).”        Harrison v. Westinghouse

 Savannah River Co., 176 F.3d 776, 783 n.5 (4th Cir. 1999).

             Defendants argue that Plaintiffs’ allegations fail to

 plead fraud with particularity.        (Def. Mem. at 27.)     Defendants

 contend that Plaintiffs fail to state the time, place and

 contents of the false representation and that any statements

 concerning Sonel’s “major successes in the provision, supply,

 and distribution of electrical power” are non-actionable

 puffery.    (Def. Mem. at 28.)     Plaintiffs do not address either

 fraud claim in their opposition brief.

             The Court agrees that Plaintiffs actual and

 constructive fraud claims – to the extent that Plaintiffs have

 not abandoned such claims – must be dismissed.          Even assuming
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 Plaintiffs have sufficiently alleged false representations by

 Defendants, the SAC is devoid of factual allegations concerning

 Plaintiffs’ reliance.       Plaintiffs state only that Defendants’

 statements “would induce justifiable reliance.”          (SAC ¶ 144.)

                   5.     Loss of Consortium and Wrongful Death Claims

             Certain plaintiffs (Nyah Tchami William, Nana Bamen

 Ngnangna Eugenie, Mendefo Youmeni Jean Jules, and Madame Mendefo

 Fridoline) seek relief for harm suffered as a result of death or

 injury to their children.       Plaintiffs seek damages for wrongful

 death, (Compl. ¶¶ 109-112), and loss of consortium, (Compl. ¶¶

 136-139).

             Virginia no longer recognizes a loss of consortium

 cause of action.       The Fourth Circuit has “held that loss of

 consortium is not recoverable in the Commonwealth of Virginia.”

 Torabipour v. Cosi, Inc., No. 1:11cv1392, 2012 WL 2153168, at *7

 (E.D. Va. June 12, 2012) (citing Carey v. Foster, 345 F.2d 772

 (4th Cir. 1965)).       Plaintiffs do not address this issue in their

 opposition brief, nor do they attempt to invoke the law of

 another jurisdiction.       Accordingly, the Court will dismiss

 Plaintiffs’ loss of consortium claim.

             Virginia law requires that a wrongful death action be

 brought “by and in the name of the personal representative” of

 the decedent.     Va. Code Ann. § 8.01-50.      Defendants argue that

 Plaintiffs’ wrongful death claim fails because the SAC does not
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 allege that Plaintiffs are the qualified personal

 representatives of the decedents.         Plaintiffs contend that they

 are the parents of the decedents and are acting as their

 personal representatives.       (Pl. Opp’n at 25.)

             Contrary to Plaintiffs’ apparent understanding,

 “personal representative” is a legal role, not a status one can

 assume without properly qualifying.        Moreover, Plaintiffs’ SAC

 does not actually allege that Plaintiffs are acting as their

 deceased family members’ personal representatives.           Accordingly,

 Plaintiffs lack standing to pursue a wrongful death action.            See

 Bradley v. Johnson & Johnson, No. 1:12CV92, 2012 WL 1957812, at

 *2 (E.D. Va. May 30, 2012) (holding that plaintiff lacked

 standing where he failed to demonstrate that he had been

 properly qualified as a personal representative of decedent’s

 estate); Hall v. Bon Secours, No. 3:06cv678, 2007 WL 295619, at

 *2 (E.D. Va. Jan. 29, 2007) (holding that plaintiff lacked

 standing where he failed to demonstrate that he was the personal

 representative of the decedent’s estate); Johnston Mem'l Hosp.

 v. Bazemore, 277 Va. 308, 313 (Va. 2009) (“Since only the

 personal representative of a decedent’s estate may bring an

 action for wrongful death and the named plaintiff in this action

 was not a legal entity at the time the action was filed, the

 complaint had no legal effect, as the named plaintiff lacked


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 legal standing to file the action.” (internal citation

 omitted)).

                   6.   Civil Conspiracy

             Under Virginia law, the elements of a common law civil

 conspiracy are (i) an agreement between two or more persons (ii)

 to accomplish an unlawful purpose or to accomplish a lawful

 purpose by unlawful means, which (iii) results in damage to

 plaintiff.    Firestone v. Wiley, 485 F. Supp. 2d 694, 703 (E.D.

 Va. 2007).    A claim for civil conspiracy “requires proof that

 the underlying tort was committed.”        Beasley v. FV-I, Inc., No.

 1:13cv116, 2013 WL 1192018, at *4 (E.D. Va. Mar. 21, 2013)

 (citations omitted).      Where a plaintiff has no actionable claim

 for the underlying alleged wrong, an action for conspiracy based

 on that wrong will not lie.       Id.

             To withstand a motion to dismiss, a plaintiff must

 “plead the requisite concert of action and unity of purpose in

 more than mere conclusory language.”        Bay Tobacco, LLC v. Bell

 Quality Tobacco Prods., LLC, 261 F. Supp. 2d 483, 499–500 (E.D.

 Va. 2003).    Virginia requires a plaintiff to allege “some

 details of time and place and the alleged effect of the

 conspiracy.”    Beasley, 2013 WL 1192018, at *4.        “Where there are

 only vague, conclusory allegations of conspiracy, the claim

 fails at the threshold.”      Id.


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             Plaintiffs fail to state an actionable claim for any

 underlying tort other than ordinary negligence.          Thus,

 Plaintiffs’ civil conspiracy claim fails.         See Witcher v. Reid,

 No. CH05-1974, 2006 WL 1494675, *4 (Va. Cir. Ct. May 31, 2006)

 (“Because negligence by definition is not an intentional wrong,

 one cannot agree or conspire to be negligent.”)          Moreover,

 Plaintiffs’ complaint contains only vague, conclusory

 allegations of conspiracy that fail to withstand a motion to

 dismiss.    Plaintiffs allege that “Defendants knowingly and

 willfully conspired and agreed among themselves to engage in

 supplying unreliable electric power in Cameroon, in violation of

 the rights of Plaintiffs.”       (SAC ¶ 131.)    The SAC does not

 identify or detail any agreement between AES and Sonel.

 Moreover, Plaintiffs’ opposition brief does not address their

 civil conspiracy claim.      Accordingly, the Court will dismiss

 this claim.

             E.    Dismissal with Prejudice

             Plaintiffs seek leave to amend their complaint to

 correct any deficiencies and to allege additional facts in

 support of their theories of liability.         (Pl. Opp’n at 25.)     A

 party may amend its pleading once as a matter of course, but

 after the first amendment, the party must obtain written consent

 from the opposing party or leave of the court.          Fed. R. Civ. P.

 15(a)(1).    Rule 15 of the Federal Rules of Civil Procedure
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 directs that “leave shall be freely given when justice so

 requires.”    Fed. R. Civ. P. 15(a)(2).       The liberality of the

 rule “gives effect to the federal policy in favor of resolving

 cases in their merits instead of disposing of them on

 technicalities.”     Laber v. Harvey, 438 F.3d 404, 426 (4th Cir.

 2006) (citing Conley v. Gibson, 355 U.S. 41, 48 (1957)).

 Nevertheless, “leave to amend need not be given where amendment

 would be futile.”     In re PEC Solutions, Inc. Sec. Litig., 418

 F.3d 379, 391 (4th Cir. 2005); Cozzarelli v. Inspire Pharms.

 Inc., 549 F.3d 618, 630 (4th Cir. 2008) (affirming dismissal

 with prejudice where “amendment would be futile in light of the

 fundamental deficiencies in plaintiffs’ theory of liability”).

             The Court will dismiss Plaintiffs’ claims against AES

 with prejudice.     Plaintiffs have already twice amended their

 complaint.    In light of the fundamental deficiencies in

 Plaintiffs’ theories of liability, further amendment would be

 futile.    Plaintiffs’ ATS claim, at its core, asks the Court to

 recognize an international norm of safe and reliable power

 supply.    Substandard power supply falls well outside the bounds

 of universally recognized norms of international law.           Further

 amendment cannot correct the fundamental flaws in Plaintiffs’

 theory of liability under the ATS.        Likewise, Plaintiffs’ state

 law claims cannot be cured through further amendment, especially

 given the SAC’s failure to allege sufficient factual matter
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 suggesting that Sonel’s actions in Cameroon can be imputed to

 AES.

                        IV.   Conclusion

             For the foregoing reasons, the Court will grant

 Defendants’ Motion to Dismiss.

             An appropriate Order will issue.




                                                 /s/
 June 26, 2014                             James C. Cacheris
 Alexandria, Virginia              UNITED STATES DISTRICT COURT JUDGE




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